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                      IN THE UNITED STATES DISTRICT COURT

                      F'OR THE NORTHERN DISTRICT OF TEXAS

                                  AMARILLO DIVISION

BRITTANEY BAILEY, on Behalf of                    s
Herself and All Others Similarly Situated,        s
                                                  s
                   Plaintift                      $
                                                  $   CryIL ACTION NO: 2:17-cv-77-J
       vs.                                        $
                                                  $
HOWBRO INVESTMENTS, LTD                           s
DIBI ABUFFALO WILD WINGS;                         s
BWWGP, INC.; KENDALL HOWARD;                      s
LUBBOCK BWW MGMT, LLC;                            s
WOLFFORTH WTNGS, LTD D/B/A                        s
BUFFALO WILD WINGS; HOW NO. 1,                    $
INC.; LUBBOCK WILD WINGS, LTD                     s
D/B/A BUFFALO WILD WINGS;                         $
MIDLAND WINGS, LTD D/B/A BUFFALO                  $
WILD WINGS; PERMIAN BWW                           $
MGMT, LLC; ODESSA WINGS,                          s
LTD D/B/A BUFFALO WILD WINGS;                     $
AMARILLO WILD WINGS, LTD D/B/A                    $
BUFFALO WILD WINGS; AMARILLO                      s
BWW MANAGEMENT, LLC; and EAST                     $
AMARILLO WINGS, LTD; DTBIA                        $
BUFFALO WILD WINGS;                               $
                                                  $
                   Defendants.                    $

           ORDER GRANTING AGREED MOTION FOR CONDITIONAL CLASS
            CERTIFICATION and NOTICE TO POTENTIAL CLASS MEMBERS

       Before the Court is the parties' agreed motion, filed October 6,2017, for the conditional

certification of and an approved form of notice to all potential class members. That motion is

GRANTED as follows.

       The Court conditionally certifies this matter as a collective action, ffid ORDERS      as


follows:
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       Plaintiff   s counsel shall use the contact information of potential class members to provide

notice to all potential class members via mail as soon as possible after entry of this Order.

       The Court approves the form and the content of the proposed Class Notice, as attached to

the motion as Exhibit "A," and the Consent Form, attached as Exhibit "B" to the motion.

       The potential opt-in plaintiffs will have up to sixty (60) days after the mailing of the

Class Notice to return a Consent Form opting in to this litigation.

       It is SO ORDERED.


        Signed this   the 19th    day of   October,2}l7.



                                                        s/ Mary Lou Robinson
                                                       HoN. Manv Lou RoSINSoN
                                                       Senior United States District Court Judge
